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                                                    U.S. Department of Justice
[Type text]
                                                    United States Attorney
v                                                   Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    August 6, 2019

BY ECF

The Honorable Vernon S. Broderick
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007


       Re:     United States v. Christopher Collins, et al., S1 18 Cr. 567 (VSB)

Dear Judge Broderick:

       Earlier today, a grand jury in this District returned Indictment S1 18 Cr. 567 (VSB) (the
“S1 Indictment”), which supersedes the indictment previously returned in this matter on August
8, 2018 (the “Original Indictment”). 1 The S1 Indictment differs from the Original Indictment in
two key respects. 2

        First, the S1 Indictment removes references to conduct that defendant Christopher Collins
contends (or could contend) is protected by the Speech or Debate Clause. Those references are:
(1) a discussion that appeared in paragraph 24 of the Original Indictment regarding the Office of
Congressional Ethics (“OCE”) investigation concerning Congressman Collins’s holdings in, and
promotion of, Innate Immunotherapeutics Limited (“Innate”); and (2) a discussion that appeared
in paragraph 42 of the Original Indictment regarding a statement issued by Congressman Collins’s
press office that the Government contends was misleading.

       Second, the S1 Indictment narrows the scope of the conspiracy charged in Count One and
reduces the number of defendants charged in Counts Six through Eight. The Original Indictment
alleged that the conspiracy’s members included the three charged defendants and multiple

1
  A courtesy copy of the S1 Indictment, along with a redline comparing it to the Original
Indictment, are being provided to the Court under separate cover.
2
  Because the information contained in this letter implicates principles of grand jury secrecy
embodied in Federal Rule of Evidence 6(e), the Government submits this letter ex parte and
requests that it be accepted for filing under seal. If the Court grants the Government’s motion to
release the grand jury minutes, which is discussed below, then the Government will promptly file
this letter on the public docket.
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unnamed individuals, identified as CC-1, CC-2, CC-3, CC-4, CC-5, and CC-6. The S1 Indictment
alleges that the conspiracy’s members include the three charged defendants, as well as CC-1 (now
identified as “Individual-1”), and CC-2 (now identified as “Individual-2”). CC-3, CC-4, CC-5,
and CC-6 (now identified as “Individual-3,” “Individual-4,” “Individual-5,” and “Individual-6,”
respectively) are alleged to be downstream tippees but not members of the charged conspiracy. 3
Furthermore, Christopher Collins is no longer named as a defendant in Counts Six, Seven, and
Eight; and Cameron Collins is no longer named as a defendant in Counts Six and Seven.

        The Government has made these modifications to the Original Indictment in an effort to
avoid unnecessary pretrial litigation that could delay the resolution of this matter, including the
possibility of an interlocutory appeal. Although the Government continues to vigorously dispute
Congressman Collins’s claim that the Original Indictment was tainted by violations of the Speech
or Debate Clause, the grand jury presentation that resulted in the S1 Indictment did not include
those facts over which Collins has asserted a claim of privilege. Moreover, the grand jury that
returned the S1 Indictment was not constituted at the time of the Original Indictment, and thus
there can be no claim that information presented in connection with the Original Indictment has
tainted the S1 Indictment. In order to allow Congressman Collins to verify this for himself, the
Government seeks permission from the Court to provide him (and all other defendants) the grand
jury minutes that underlie the S1 Indictment. 4

        It should be emphasized that in making these modifications to the Original Indictment, the
Government does not intend to restrict in any way the evidence that it may rely upon at trial.
Subject to the Court’s rulings on admissibility, the Government reserves the right to offer any and
all evidence that it deems relevant to the charges in the S1 Indictment, including evidence to which
Congressman Collins (or any other defendant) has objected on Speech or Debate grounds or
otherwise. Indeed, the Government presently anticipates offering, among other things, testimony
of congressional staffers regarding the allegedly misleading press statement and their
conversations with Congressman Collins regarding trading in Innate, evidence regarding the OCE
investigation, and admissible statements by Individuals-3, -4, -5, and -6 regarding the
circumstances of their trading.

        To that end, the Government anticipates filing a motion in limine concerning evidence that
could implicate the Speech or Debate Clause. Should the defendants object to any of that evidence,
and should their objections be overruled, they will of course be entitled to seek redress in the Court
of Appeals, but only after a final judgment has been entered. See United States v. McDade, 28
F.3d 283 (3rd Cir. 1994) (Alito, J.) (concluding that, even in the context of a Speech or Debate
claim, “it is settled that a ruling on the admissibility of evidence at a criminal trial is not completely


3
  The Government reserves the right to argue at trial, particularly for the purposes of establishing
admissibility of certain statements pursuant to Rule 801(d)(2)(E), that some or all of these
individuals were members of one or more subordinate conspiracies with one or more of the charged
defendants.

4
 The Government anticipates that, if this request is granted, the minutes would be provided to
defense counsel pursuant to Rule 16 and subject to the protective order in this case.
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separate from the merits of the case,” and thus not appealable until a final judgment has been
entered.).


                                           Respectfully submitted,

                                           GEOFFREY S. BERMAN
                                           United States Attorney

                                    By:        /s/__________________________________
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